                                          Case 4:19-cv-06669-JST Document 104 Filed 06/17/21 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    ROBERT ROSS,                                        Case No. 19-cv-06669-JST
                                                       Plaintiff,
                                   8
                                                                                            ORDER RE SETTLEMENT
                                                v.                                          CONFERENCE MAGISTRATE JUDGE
                                   9

                                  10    AT&T MOBILITY, LLC, et al.,                         Re: ECF No. 102
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court notes the parties’ expression of interest in a Settlement Conference with a

                                  14   Magistrate Judge. See ECF No. 102 at 3; ADR L.R. 3-4(a)(3).

                                  15          The parties are ordered to meet and confer regarding the Magistrate Judges they believe

                                  16   would be particularly effective in conducting settlement negotiations in this case, and file a joint

                                  17   rank-ordered list of three Magistrate Judges by 5:00 p.m. June 21, 2021. If the parties are

                                  18   unable to agree on a jointly-ordered list, they shall not file competing proposals or otherwise

                                  19   express a preference.

                                  20          IT IS SO ORDERED.

                                  21   Dated: June 17, 2021
                                                                                        ______________________________________
                                  22
                                                                                                      JON S. TIGAR
                                  23                                                            United States District Judge

                                  24

                                  25

                                  26
                                  27

                                  28
